Case 2:02-CV-02556-SHI\/|-STA Document 126 Filed 06/21/05 Page 1 of 2 Page|D 183

F\\.ED BY. D.O-
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE DS`HRQZ| PH 3;hf
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MARK J. CHIDESTER,

Plaintiff,
v.

NO. 02-2556 Ma/A

CITY OF MEMPHIS, et al.,

VVVVVVVV\_I

Defendants.

 

ORDER DENYING AS MOOT DEFENDANT J.H. THOMAS' MOTION TO STAY

 

Before the court is defendant J.H. Thomas’ motion to stay
discovery, filed on January 11, 2005. Thomas asks the court to stay
discovery until the court has determined whether Thomas is shielded
from suit by qualified immunity. In an order entered on January 28,
2005, this court found “that Officer Thomas is not shielded by the
doctrine of qualified immunity” from Chidester's 42 U.S.C. § 1983
claim for use of excessive force in violation of Chidester's Fourth
and Fourteenth Amendment rights. Accordingly, the court DENIES as

moot Thomas' motion to stay discovery.

So ordered this u}/Lday of June 2005.

l»/WM=`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Randall Blake Tolley

LAW OFFICE OF RANDALL B. TOLLEY
242 Poplar Ave.

1\/1emphis7 TN 38103

.1 ean Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

1\/1emphis7 TN 38103

Henry L. Klein

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/1emphis7 TN 38119--397

Thomas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
1\/1emphis7 TN 38122--372

Eugene C. Gaerig

LAW OFFICES OF EUGENE C. GAERIG
100 N. Main Street

Ste. 31 18

1\/1emphis7 TN 38103

Christopher Lee BroWn

GOTTEN WILSON SAVORY & BEARD, PLLC
88 Union Ave.

14th Floor

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

